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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF NEW YORK


  DANIEL HUTSON,
                                                      Civil Action No.
                      Plaintiff,
                                                      COMPLAINT FOR VIOLATIONS
       v.                                             OF THE FEDERAL SECURITIES
                                                      LAWS


                                                      JURY TRIAL DEMANDED
   PARSLEY ENERGY, INC., BRYAN
   SHEFFIELD, MATT GALLAGHER,
   A.R. ALAMEDDINE, RONALD
   BROKMEYER, WILLIAM L.
   BROWNING, HEMANG DESAI,
   KAREN HUGHES, JAMES J.
   KLECKNER, DAVID SMITH, S. WIL
   VANLOH, JR., and JERRY
   WINDLINGER,


                      Defendants.



       Plaintiff Daniel Hutson (“Plaintiff”) by and through his undersigned attorneys, brings this

action on behalf of himself, and alleges the following based upon personal knowledge as to those

allegations concerning Plaintiff and, as to all other matters, upon the investigation of counsel,

which includes, without limitation: (a) review and analysis of public filings made by Parsley

Energy, Inc. (“Parsley” or the “Company”) and other related parties and non-parties with the

United States Securities and Exchange Commission (“SEC”); (b) review and analysis of press

releases and other publications disseminated by certain of the Defendants (defined below) and

other related non-parties; (c) review of news articles, shareholder communications, and postings
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on the Company’s website concerning the Company’s public statements; and (d) review of other

publicly available information concerning Parsley and the Defendants.

                                 SUMMARY OF THE ACTION

       1.      This is an action brought by Plaintiff against Parsley and the Company’s Board of

Directors (the “Board” or the “Individual Defendants”) for their violations of Section 14(a) and

20(a) of the Securities Exchange Act of 1934, 15.U.S.C. §§ 78n(a), 78t(a), and SEC Rule 14a-9,

17 C.F.R. 240.14a-9, in connection with the proposed sale of the Company to Pioneer Natural

Resources Company (“Parent”) (the “Proposed Transaction”).

       2.      On October 20, 2020, the Company entered into an Agreement and Plan of

Merger (the “Merger Agreement”) with Parent, Pearl First Merger Sub Inc. (“Merger Sub Inc.”),

Pearl Second Merger Sub LLC (“Merger Sub LLC”), Pearl Opco Merger Sub LLC (“Opco

Merger Sub LLC,” and together with Parent, Merger Sub Inc., and Merger Sub LLC, “Pioneer”),

and Parsley Energy, LLC (“Opco LLC”). Pursuant to the terms of the Merger Agreement, each

share of Class A common stock of Parsley will be converted into 0.1252 shares of Parent

common stock, and each unit of Opco LLC will be converted into 0.1252 shares of Parent

common stock (the “Merger Consideration”).

       3.      On December 4, 2020, in order to convince the Company’s shareholders to vote

in favor of the Proposed Transaction, the Board authorized the filing of a materially incomplete

and misleading proxy statement with the (the “Proxy Statement”), in violation of Sections 14(a)

and 20(a) of the Exchange Act.

       4.      For these reasons, and as set forth in detail herein, Plaintiff asserts claims against

Parsley and the Board for violations of Sections 14(a) and 20(a) of the Exchange Act and Rule

14a-9. Plaintiff seeks to enjoin Defendants from taking any steps to consummate the Proposed




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Transaction unless and until the material information discussed below is disclosed to Parsley

shareholders before the vote on the Proposed Transaction or, in the event the Proposed

Transaction is consummated, recover damages resulting from the Defendants’ violations of the

Exchange Act.

                                 JURISDICTION AND VENUE

        5.      This Court has subject matter jurisdiction over all claims asserted herein pursuant

to Section 27 of the Exchange Act, 15 U.S.C § 78aa, and 28 U.S.C. § 1331, as Plaintiff alleges

violations of Sections 14(a) and 20(a) of the Exchange Act.

        6.      This Court has personal jurisdiction over all of the Defendants because each is

either a corporation that conducts business in, solicits shareholders in, and/or maintains

operations within, this District, or is an individual who is either present in this District for

jurisdictional purposes or has sufficient minimum contacts with this District so as to make the

exercise of jurisdiction by this Court permissible under traditional notions of fair play and

substantial justice.

        7.      Venue is proper under 28 U.S.C. § 1391 because a substantial portion of the

transactions and wrongs complained of herein occurred in this District.

                                          THE PARTIES

        8.      Plaintiff is, and has been at all times relevant hereto, the owner of Parsley shares.

        9.      Defendant Parsley is incorporated under the laws of Delaware and has its

principal executive offices located at 303 Colorado Street, Austin, Texas 78701. The Company’s

common stock trades on the New York Stock Exchange under the symbol “PE.”

        10.     Defendant Bryan Sheffield (“Sheffield”) is and has been the Chairman of the

Company’s Board at all times during the relevant time period.




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       11.     Defendant Matt Gallagher (“Gallagher”) is and has been the President, Chief

Executive Officer, and a director of Parsley at all times during the relevant time period.

       12.     Defendant A.R. Alameddine (“Alameddine”) is and has been a director of Parsley

at all times during the relevant time period.

       13.     Defendant Ronald Brokmeyer (“Brokmeyer”) is and has been a director of

Parsley at all times during the relevant time period.

       14.     Defendant William L. Browning (“Browning”) is and has been a director of

Parsley at all times during the relevant time period.

       15.     Defendant Hemang Desai (“Desai”) is and has been a director of Parsley at all

times during the relevant time period.

       16.     Defendant Karen Hughes (“Hughes”) is and has been a director of Parsley at all

times during the relevant time period.

       17.     Defendant James J. Kleckner (“Kleckner”) is and has been a director of Parsley at

all times during the relevant time period.

       18.     Defendant David Smith (“Smith”) is and has been a director of Parsley at all times

during the relevant time period.

       19.     Defendant S. Wil VanLoh, Jr. (“VanLoh”) is and has been a director of Parsley at

all times during the relevant time period.

       20.     Defendant Jerry Windlinger (“Windlinger”) is and has been a director of Parsley

at all times during the relevant time period.

       21.     Defendants Sheffield, Gallagher, Alameddine, Brokmeyer, Browning, Desai,

Hughes, Kleckner, Smith, VanLoh, and Windlinger are collectively referred to herein as the

“Individual Defendants.”




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       22.     The Individual Defendants, along with Defendant Parsley, are collectively

referred to herein as “Defendants.”

                              SUBSTANTIVE ALLEGATIONS

                                 Background of the Company

       23.     Parsley is an independent oil and natural gas company focused on the acquisition,

development, exploration and production of unconventional oil and natural gas properties in the

Permian Basin. The Permian Basin is located in west Texas and southeastern New Mexico and is

characterized by high oil and liquids-rich natural gas content, multiple vertical and horizontal

target horizons, extensive production histories, long-lived reserves and historically high drilling

success rates. Parsley’s properties are located in two sub areas of the Permian Basin, the Midland

and Delaware Basins, where, given the associated returns, it focuses predominantly on horizontal

development drilling.

                     The Company Announces the Proposed Transaction

       24.     On October 20, 2020, the Company jointly issued a press release announcing the

Proposed Transaction. The press release stated in part:

       DALLAS & AUSTIN, Texas--(BUSINESS WIRE)--Pioneer Natural Resources
       Company (NYSE:PXD) ("Pioneer" or "the Company") and Parsley Energy, Inc.
       (NYSE:PE) (“Parsley”) today announced that they have entered into a definitive
       agreement under which Pioneer will acquire all of the outstanding shares of
       Parsley in an all-stock transaction valued at approximately $4.5 billion as of
       October 19, 2020. Under the terms of the agreement, Parsley shareholders will
       receive a fixed exchange ratio of 0.1252 shares of Pioneer common stock for each
       share of Parsley common stock owned. The total value for the transaction,
       inclusive of Parsley debt assumed by Pioneer, is approximately $7.6 billion.

       Scott D. Sheffield, Pioneer’s President and CEO stated, “This transaction creates
       an unmatched independent energy company by combining two complementary
       and premier Permian assets, further strengthening Pioneer’s leadership position
       within the upstream energy sector. Parsley’s high-quality portfolio in both the
       Midland and Delaware Basins, when added to Pioneer’s peer-leading asset base,



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    will transform the investing landscape by creating a company of unique scale and
    quality that results in tangible and durable value for investors.

    This combination is expected to drive annual synergies of $325 million and to be
    accretive to cash flow per share, free cash flow per share, earnings per share and
    corporate returns beginning in the first year, creating an even more compelling
    investment proposition. Further, Pioneer’s emphasis on environmental
    stewardship aligns with Parsley’s culture of sustainable operations. The addition
    of Parsley’s high-quality assets enhances Pioneer’s investment framework by
    improving our free cash flow profile and strengthening our ability to return capital
    to shareholders. We look forward to integrating Parsley into Pioneer and
    continuing our history of strong execution.”

    Matt Gallagher, Parsley's President and CEO stated, “The combination of Parsley
    and Pioneer creates an organization set to thrive as we forge a strong new link at
    the low end of the global cost curve. With neighboring acreage positions located
    entirely in the low-cost, high-margin Permian Basin, the industrial logic of this
    transaction is sound. Furthermore, the Pioneer team shares our belief that a clear
    returns-focused mindset is the best tool to compete for capital within the broader
    market. Sustainable free cash flow and growing return of capital are now
    investment prerequisites for the energy sector and this combination strengthens
    those paths for our shareholders. Finally, I would like to personally thank every
    employee of Parsley Energy for their role in the evolution of this company – from
    operating a few dozen vertical wells in 2008 to a global leadership position in
    E&P operations today.”

    S. Wil VanLoh, Jr., a Parsley director and the Founder and Chief Executive
    Officer of Quantum Energy Partners, Parsley’s largest shareholder, commented,
    “The inevitable consolidation in the Permian marches on and I couldn’t think of a
    better combination of assets than Pioneer and Parsley. This combination will
    provide Parsley shareholders new structural advantages including a lower cost of
    capital, a fortified balance sheet, economies of scale, and enhanced ESG
    capabilities, while amplifying all of the relative strengths of our standalone
    model. We look forward to partnering with the Pioneer team as they cement their
    position as the premier independent E&P.”

    Strategic and Financial Benefits

•   Accretive to Key Financial Metrics– Pioneer expects the transaction to be
    accretive on key financial metrics including cash flow and free cash flow per
    share, earnings per share and return on capital employed beginning in 2021. The
    enhanced cash flow generation of the combined company strengthens Pioneer’s
    investment framework creating a more robust free cash flow profile while
    lowering the reinvestment rate to a range of 65% to 75% at strip pricing.



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•   Significant Synergies – The combination of Pioneer and Parsley is expected to
    result in annual cost savings of approximately $325 million through operational
    efficiencies and reductions in general and administrative (G&A) and interest
    expenses. The expected present value of these cost savings exceeds $2 billion
    over a ten-year period. Operational savings are driven by the utilization of shared
    facilities, overlapping operations, scale efficiencies and benefits provided by
    Pioneer’s extensive water infrastructure. Further synergies are realized from
    adjacent acreage footprints and the ability to drill extended laterals where lease
    configurations of the separate companies prevented long-lateral horizontal wells.
•   Unmatched Permian Scale – The combined company will be the leading
    Permian independent exploration and production company with a premium asset
    base of approximately 930,000 net acres with no federal acreage and a production
    base of 328 thousand barrels of oil per day and 558 thousand barrels oil
    equivalent per day as of the second quarter of 2020. Additionally, based on year-
    end 2019 proved reserves, this transaction will increase Pioneer’s proved reserves
    by approximately 65%.
•   Top-Tier Balance Sheet – Pioneer’s pro forma leverage will remain among the
    lowest in the industry, preserving the Company’s financial flexibility and
    allowing for significant return of capital to shareholders. The combined company
    is expected to benefit from approximately $75 million per year in lower interest
    expense and will gradually reduce net debt to EBITDAX to less than 0.75x from
    an already strong position.
•   Sustainable Development – Pioneer and Parsley have demonstrated strong
    commitments to best-in-class environmental, social and governance practices. The
    combined company will continue to aggressively pursue improvements and
    promote a culture that prioritizes sustainable operations. Pioneer plans to publish
    a comprehensive 2020 Sustainability Report detailing its efforts in these areas
    during the fourth quarter of 2020.
    Transaction Details

    This all-stock transaction constitutes a 7.9% premium to Parsley shareholders
    based on unaffected closing share prices as of October 19, 2020. Pioneer will
    issue approximately 52 million shares of common stock in the transaction. After
    closing, existing Pioneer shareholders will own approximately 76% of the
    combined company and existing Parsley shareholders will own approximately
    24% of the combined company.

    The transaction has been unanimously approved by the Boards of Directors of
    both Pioneer and Parsley and is expected to close in the first quarter of 2021,
    subject to customary closing conditions, regulatory approvals and shareholder
    approvals. Parsley’s largest investor, Quantum Energy Partners, which owns
    approximately 17% of Parsley’s outstanding shares, has executed a Voting and
    Support Agreement in connection with the transaction.




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       Upon closing of the transaction, Pioneer’s Board of Directors will be expanded to
       thirteen to include Matt Gallagher, Parsley’s President and CEO, and A.R.
       Alameddine, Parsley’s lead director. Pioneer’s executive management team will
       lead the combined company with the headquarters remaining in Dallas, Texas.

       Advisors

       In connection with this transaction, Pioneer has retained Goldman Sachs & Co.
       LLC and Morgan Stanley & Co. LLC as financial advisors and Gibson, Dunn &
       Crutcher LLP as a legal advisor. Parsley has retained Credit Suisse Securities
       (USA) LLC and Wells Fargo Securities, LLC as financial advisors and Vinson &
       Elkins LLP as a legal advisor.

                     FALSE AND MISLEADING STATEMENTS
             AND/OR MATERIAL OMISSIONS IN THE PROXY STATEMENT

       25.     On December 4, 2020, the Company authorized the filing of the Proxy Statement

with the SEC. The Proxy Statement recommends that the Company’s shareholders vote in favor

of the Proposed Transaction.

       26.     Defendants were obligated to carefully review the Proxy Statement prior to its

filing with the SEC and dissemination to the Company’s shareholders to ensure that it did not

contain any material misrepresentations or omissions.          However, the Proxy Statement

misrepresents and/or omits material information that is necessary for the Company’s

shareholders to make informed decisions regarding whether to vote in favor of the Proposed

Transaction, in violation of Sections 14(a) and 20(a) of the Exchange Act.

                 Material False and Misleading Statements or Material
     Misrepresentations or Omissions Regarding the Company’s Financial Projections

       27.     The Proxy Statement contains projections prepared by the Company’s and

Pioneer’s management concerning the Proposed Transaction, but fails to provide material

information concerning such.

       28.     The SEC has repeatedly emphasized that disclosure of non-GAAP projections can

be inherently misleading, and has therefore heightened its scrutiny of the use of such


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projections. 1 Indeed, on May 17, 2016, the SEC’s Division of Corporation Finance released new

and updated Compliance and Disclosure Interpretations (“C&DIs”) on the use of non-GAAP

financial measures that demonstrate the SEC’s tightening policy. 2 One of the new C&DIs

regarding forward-looking information, such as financial projections, explicitly requires

companies to provide any reconciling metrics that are available without unreasonable efforts.

       29.      In order to make management’s projections included in the Proxy Statement

materially complete and not misleading, Defendants must provide a reconciliation table of the

non-GAAP measures to the most comparable GAAP measures.

       30.      Specifically, with respect to the Company’s projections, the Company must

disclose the line item projections for the financial metrics that were used to calculate the non-

GAAP measures, including: (i) EBITDAX, and (ii) EBITDA, (iii) discretionary cash flow, (iv)

levered free cash flow, and (v) unlevered free cash flow.

       31.      With respect to the Pioneer’s projections, the Company must disclose the line

item projections for the financial metrics that were used to calculate the non-GAAP measures,

including: (i) EBITDAX, and (ii) EBITDA, (iii) discretionary cash flow, and (iv) unlevered free

cash flow.




1
  See, e.g., Nicolas Grabar and Sandra Flow, Non-GAAP Financial Measures: The SEC’s
Evolving Views, Harvard Law School Forum on Corporate Governance and Financial
Regulation (June 24, 2016), available at https://corpgov.law.harvard.edu/2016/06/24/non-gaap-
financial-measuresthesecs evolving-views/; Gretchen Morgenson, Fantasy Math Is Helping
Companies Spin Losses Into Profits, N.Y. Times, Apr. 22, 2016, available at
http://www.nytimes.com/2016/04/24/business/fantasy-mathis-helping-companies-spin-ossesinto-
profits.html?_r=0.
2
 Non-GAAP Financial Measures, Compliance & Disclosure Interpretations, U.S. SECURITIES
AND       EXCHANGE          COMMISSION           (May     17,     2017), available   at
https://www.sec.gov/divisions/corpfin/guidance/nongaapinterp.htm.


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       32.      Disclosure of the above information is vital to provide investors with the complete

mix of information necessary to make an informed decision when voting on the Proposed

Transaction.    Specifically, the above information would provide shareholders with a better

understanding of the analyses performed by the Company’s financial advisor in support of its

opinion.

                      Material False and Misleading Statements or Material
             Misrepresentations or Omissions Regarding Credit Suisse’s Financial Opinion

       33.      The Proxy Statement contains the financial analyses and opinion of Credit Suisse

Securities (USA) LLC (“Credit Suisse”) concerning the Proposed Transaction, but fails to

provide material information concerning such.

       34.      With respect to Credit Suisse’s Discounted Cash Flow Analysis—Corporate for

Parsley and Pioneer, the Proxy Statement fails to disclose: (i) the inputs and assumptions

underlying Credit Suisse’s selection of discount rates ranging from 9.5% to 11.5% for Parsley

and 9.0% to 11.0% for Pioneer; and (ii) the basis for Credit Suisse’s selection of terminal

multiples of 4.75x-5.75x for Parsley and 5.5x-6.5x for Pioneer.

       35.      With respect to Credit Suisse’s Discounted Cash Flow Analysis—Net Asset Value

for Parsley and Pioneer, the Proxy Statement fails to disclose: (i) the inputs and assumptions

underlying Credit Suisse’s selection of discount rates ranging from 9.5% to 11.5% for Parsley

and 9.0% to 11.0% for Pioneer; and (ii) the basis for Credit Suisse’s selection of terminal

multiples of 4.75x-5.75x for Parsley and 5.5x-6.5x for Pioneer.

                   Material False and Misleading Statements or Material
       Misrepresentations or Omissions Regarding Wells Fargo’s Financial Opinion

       36.      The Proxy Statement contains the financial analyses and opinion of Wells Fargo

Securities, LLC (“Wells Fargo”) concerning the Proposed Transaction, but fails to provide




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material information concerning such.

        37.     With respect to Wells Fargo’s Discounted Cash Flow Analysis for Parsley and

Pioneer, the Proxy Statement fails to disclose: (i) the inputs and assumptions underlying Wells

Fargo’s selection of the discount rates ranging from 7.5% to 9.25% for Parsley and 7.25% to

8.75% for Pioneer; and (ii) the basis for Wells Fargo’s selection of terminal EBITDAX multiples

of 4.75x-5.75x for Parsley and 5.50x-6.50x for Pioneer.

        38.     With respect to Wells Fargo’s Selected Public Companies Analysis, the Proxy

Statement fails to disclose the individual multiples and metrics for the companies observed in the

analysis.

        39.     When a banker’s endorsement of the fairness of a transaction is touted to

shareholders, the valuation methods used to arrive at that opinion as well as the key inputs and

range of ultimate values generated by those analyses must also be fairly disclosed. Moreover,

the disclosure of projected financial information is material because it provides shareholders with

a basis to project the future financial performance of a company and allows shareholders to

better understand the financial analyses performed by the Company’s financial advisor in support

of its fairness opinion.

        40.     Without the above described information, the Company’s shareholders are unable

to cast a fully informed vote on the Proposed Transactions. Accordingly, in order to provide

shareholders with a complete mix of information, the omitted information described above

should be disclosed.

                                             COUNT I

                     (Against All Defendants for Violations of Section 14(a)
                of the Exchange Act and Rule 14a-9 Promulgated Thereunder)

        41.     Plaintiff incorporates each and every allegation set forth above as if fully set forth



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herein.

          42.   Section 14(a)(1) of the Exchange Act makes it “unlawful for any person, by the

use of the mails or by any means or instrumentality of interstate commerce or of any facility of a

national securities exchange or otherwise, in contravention of such rules and regulations as the

Commission may prescribe as necessary or appropriate in the public interest or for the protection

of investors, to solicit or to permit the use of his name to solicit any proxy or consent or

authorization in respect of any security (other than an exempted security) registered pursuant to

section 78l of this title.” 15 U.S.C. § 78n(a)(1).

          43.   Rule 14a-9, promulgated by the SEC pursuant to Section 14(a) of the Exchange

Act, provides that communications with stockholders in a recommendation statement shall not

contain “any statement which, at the time and in the light of the circumstances under which it is

made, is false or misleading with respect to any material fact, or which omits to state any

material fact necessary in order to make the statements therein not false or misleading.” 17

C.F.R. § 240.14a-9.

          44.   Defendants have issued the Proxy Statement with the intention of soliciting

shareholders support for the Proposed Transaction. Each of the Defendants reviewed and

authorized the dissemination of the Proxy Statement, which fails to provide critical information

regarding, among other things, the financial projections for the Company.

          45.   In so doing, Defendants made untrue statements of fact and/or omitted material

facts necessary to make the statements made not misleading. Each of the Defendants, by virtue

of their roles as officers and/or directors, were aware of the omitted information but failed to

disclose such information, in violation of Section 14(a). The Defendants were therefore

negligent, as they had reasonable grounds to believe material facts existed that were misstated or




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omitted from the Proxy Statement, but nonetheless failed to obtain and disclose such information

to shareholders although they could have done so without extraordinary effort.

       46.    The Defendants knew or were negligent in not knowing that the Proxy Statement

is materially misleading and omits material facts that are necessary to render it not misleading.

The Defendants undoubtedly reviewed and relied upon the omitted information identified above

in connection with their decision to approve and recommend the Proposed Transaction.

       47.    The Defendants knew or were negligent in not knowing that the material

information identified above has been omitted from the Proxy Statement, rendering the sections

of the Proxy Statement identified above to be materially incomplete and misleading. Indeed, the

Defendants were required to be particularly attentive to the procedures followed in preparing the

Proxy Statement and review it carefully before it was disseminated, to corroborate that there are

no material misstatements or omissions.

       48.    The Defendants were, at the very least, negligent in preparing and reviewing the

Proxy Statement. The preparation of a Proxy Statement by corporate insiders containing

materially false or misleading statements or omitting a material fact constitutes negligence. The

Defendants were negligent in choosing to omit material information from the Proxy Statement or

failing to notice the material omissions in the Proxy Statement upon reviewing it, which they

were required to do carefully as the Company’s directors. Indeed, the Defendants were

intricately involved in the process leading up to the signing of the Merger Agreement and the

preparation of the Company’s financial projections.

       49.    The misrepresentations and omissions in the Proxy Statement are material to

Plaintiff, who will be deprived of his right to cast an informed vote if such misrepresentations

and omissions are not corrected prior to the vote on the Proposed Transaction.




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          50.   Plaintiff has no adequate remedy at law. Only through the exercise of this Court’s

equitable powers can Plaintiff be fully protected from the immediate and irreparable injury that

Defendants’ actions threaten to inflict.

                                             COUNT II

                            (Against the Individual Defendants for
                        Violations of Section 20(a) of the Exchange Act)

          51.   Plaintiff incorporates each and every allegation set forth above as if fully set forth

herein.

          52.   The Individual Defendants acted as controlling persons of Parsley within the

meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their positions as

officers and/or directors of Parsley, and participation in and/or awareness of the Company’s

operations and/or intimate knowledge of the incomplete and misleading statements contained in

the Proxy Statement filed with the SEC, they had the power to influence and control and did

influence and control, directly or indirectly, the decision making of the Company, including the

content and dissemination of the various statements that Plaintiff contends are materially

incomplete and misleading.

          53.   Each of the Individual Defendants was provided with, or had unlimited access to,

copies of the Proxy Statement and other statements alleged by Plaintiff to be misleading prior to

and/or shortly after these statements were issued and had the ability to prevent the issuance of the

statements or cause the statements to be corrected.

          54.   In particular, each of the Individual Defendants had direct and supervisory

involvement in the day-to-day operations of the Company, and, therefore, is presumed to have

had the power to control or influence the particular transactions giving rise to the Exchange Act

violations alleged herein, and exercised the same. The Proxy Statement at issue contains the



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unanimous recommendation of each of the Individual Defendants to approve the Proposed

Transaction. They were thus directly involved in preparing this document.

       55.     In addition, as set forth in the Proxy Statement sets forth at length and described

herein, the Individual Defendants were involved in negotiating, reviewing, and approving the

Merger Agreement. The Proxy Statement purports to describe the various issues and information

that the Individual Defendants reviewed and considered. The Individual Defendants participated

in drafting and/or gave their input on the content of those descriptions.

       56.     By virtue of the foregoing, the Individual Defendants have violated Section 20(a)

of the Exchange Act.

       57.     As set forth above, the Individual Defendants had the ability to exercise control

over and did control a person or persons who have each violated Section 14(a) and Rule 14a-9 by

their acts and omissions as alleged herein. By virtue of their positions as controlling persons,

these Defendants are liable pursuant to Section 20(a) of the Exchange Act. As a direct and

proximate result of Individual Defendants’ conduct, Plaintiff will be irreparably harmed.

       58.     Plaintiff has no adequate remedy at law. Only through the exercise of this Court’s

equitable powers can Plaintiff be fully protected from the immediate and irreparable injury that

Defendants’ actions threaten to inflict.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for judgment and relief as follows:

       A.      Preliminarily and permanently enjoining Defendants and all persons acting in

concert with them from proceeding with, consummating, or closing the Proposed Transaction;




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       B.       Directing the Individual Defendants to disseminate an Amendment to the Proxy

Statement that does not contain any untrue statements of material fact and that states all material

facts required in it or necessary to make the statements contained therein not misleading;

       C.       Directing Defendants to account to Plaintiff for all damages sustained because of

the wrongs complained of herein;

       D.       Awarding Plaintiff the costs of this action, including reasonable allowance for

Plaintiff’s attorneys’ and experts’ fees; and

       E.       Granting such other and further relief as this Court may deem just and proper.

                                         JURY DEMAND

       Plaintiff demands a trial by jury on all issues so triable.

Dated: December 14, 2020                                       Respectfully submitted,

                                                               By: /s/ Joshua M. Lifshitz
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                                                               Attorneys for Plaintiff




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